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SALVADOR JIMENEZ-GARCIA, GERARDO
GONZALEZ-JIMENEZ, ALEJANDRO JUAN-
PEREZ, JUAN ANTONIO-MALDONADO and
GILBERTO MORENO-MENDO,

Plaintiffs,
-vs- Case No. 2:01-cv-539~FtM-3ISPC
SORRELLS BROTHERS PACKING COMPANY,
INC.,

Defendants.

 

REPORT AND RECOMMEDATION

This matter comes before the Court on the Plaintiffs Gerardo Gonaalez-Jimenez, Alejandro
Juan-Oerez, Refael Juan-Perez and Gilberto Moreno-Mendo’s Motion for Attorney’s Fees and Costs
(Doc. # 116) filed on February l9, 2004, and the Plaintiffs Ruben Gomez-Ortiz and Juan Antonio-
Maldando’s Motion for an Award of Costs (Doc. # 119) filed on February 20, 2004. In an Order
issued March 12, 2004, (Doc. # 125) the District Court denied the Plaintiff’ s Motions for Attorney’s
Fees and Costs under Florida Statute § 448.08. Therefore, all that remains for consideration before
this Court is the award of costs under 28 U.S.C. § 1920.

On March 30, 2004, the Court held a hearing on the issue of the remaining cost in an attempt
to reach a settlement agreement The hearing and subsequent settlement discussions resulted in an

impasse and the Court asked the parties to submit briefs regarding the remaining costs. The Plaintiffs

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filed their briefs on April 12 and 14, 2004. The Defendant chose to rely on the arguments set forth
in its earlier brief filed in response to the original motion for fees and costs. The issue is now ripe
for a ruling by the Court.
Certain costs are taxable under 28 U.S.C. § 1920. The Statute reads in pertinent part:
A judge or clerk of any court of the United States may tax as costs the following:

(1) Fees of the Clerk and marshal;

(2) Fees of the court reporter for all or any part of the stenographic transcript
necessarily obtained for use in the case;

(3) Fees and disbursements for printing and witnesses;

(4) Fees for exemplification and copies of paper necessarily obtained for use
in the case;

(5) Docket fees under section 1923 of this title;

(6) Compensation of court appointed experts, compensation of interpreters,
and salaries, fees, expenses and costs of special interpretation services
under section 1828 of this title.

28 U.S.C. § 1920. In exercising its discretion the Court is accorded great latitude in ascertaining
what costs are taxable. McKenzie v. EAP Management Corp., 1999 WL 1427707 * 1 (S.D. Fla. Sept.
30, 1999). However, because the taxing of costs to the prevailing party is in derogation of the
common law, the Court is limited to allowing only those costs that are specifically enumerated in
the statute. Zunde v. lnt’l Paper Co., 2000 U.S. Dist. LEXIS 14754 * 13 (M.D. Fla. July 20, 2000);
See Lockett v. Hellenic Sea Transports, Ltd., 60 F.R.D. 469, (D.C. Pa. 1973) (holding §1920 terms
for awarding cost to the prevailing party must be strictly construed).
(1) Claims bv Gerardo Gonzalez-Jimenez, Aleiandro Juan-Oerez, Refael Juan-Perez and
Gilberto Moreno-Mendo ’s for Costs
Admission of a deposition into evidence or use during cross examination tends to show that

the deposition was necessarily obtained. United States Egual Employment Opportunity Commission

v. W & O Inc., 213 F. 3d 600, 621 (1 lth Cir. 2000). The depositions of Alejandro Juan-Perez,

 

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Gerardo GonzaleZ-Jimenez, Rafael Juan-Perez and Raul Torres-Rodriquez, were received into
evidence at trial and the deposition of German Figueroa-Cardona was used at trial for cross
examination purposes. Further, the Defendant concedes that the depositions of Alej andro Barragan
and Berthina Cervantes are properly taxed as costs. Thus, the Plaintiffs have established that the
depositions were necessarily obtained for use in this case and the Court respectfully recommends that
those costs be awarded.

The Defendant objects to the Plaintiffs submission of charges for interpreters services as not
necessarily obtained for use in this case. Under section six of the statute, compensation of interpreter
services, not including expenses that are not directly related to the interpreter’s services, are taxable
as costs. 28 U.S.C. § 1920(6). The interpreters services are directly related to the depositions that
were used either in evidence or for cross examination purposes. Further, the Plaintiff voluntarily
removed the expenses related to the interpreter’s travel time, per diem, transportation and lodging,
leaving only the charges for the interpreter’s services. Therefore, the claim for interpreter’s fees is
warranted and the Court respectfully recommends the Motion for interpreter’s costs should be
granted.

(2) Claz'ms bv Ruben Gomez-Ortiz and Juan Antonio-Maldonado for Costs

The Plaintiffobj ects to paying the costs incurred in copying condensed deposition transcripts
of Judy Strictland, Eulalio Valerio, Plaintiff Ruben Gomez and the deposition transcript of Walter
Kates. Whether or not the condensed copies should be taxable as costs hinges upon whether or not

the copies were reasonably necessary for use in this case. W & O Inc., 213 F. 3d at 621(citing I_J_.

 

S. v. Kolesar, 313 F.2d 835, 840 (Sth Cir. 1963)). The costs for Valerio’s original deposition and

a condensed copy were already paid by the Defendant as part of the settlement agreement Therefore,

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the Defendant should not have to pay again for the costs of Valerios’ condensed deposition
transcript

As to the copying costs for the condensed depositions of Strickland and C)rtiz, the Plaintiff
argues against taxing those condensed copies as costs because the costs of the original transcript and
one copy were already paid in the settlement agreement However, the District Court requested
condensed copies in the pretrial order for the Court’s use during the trial. Taking into consideration
the District Court’s order for condensed transcript copies for trial, the Court must conclude that the
condensed copies were reasonably necessary for use at trial. Thus, the costs of copying Strictland

and Ortiz’s condensed depositions are taxable as costs under section four of the statute. W & O Inc.,

 

213 F. 3d at 621.

Regarding the costs of the deposition of Walter Kates, the Defendant objects to the costs
because his testimony was not related to the communications that took place between the parties that
led to the Plaintiff s termination Nonetheless, Kates’ did testify at trial, and therefore, the
presumption is that the deposition was necessarily obtained for use at trial.l_d.

The Plaintiff also objects to taxing the witness fees and costs for Teresa McNulty. McNulty
was expected to be called as a witness to authenticate the Plaintist employment records. The
Defendant objects to McNulty’s fees and costs because she was not actually called to testify at trial.
However, fees and costs of non-testifying witnesses may be recovered if the witness’ presence at the
trial was reasonably necessary and extrinsic circumstances rendered the testimony unnecessary
George v. GTE Directories, lnc., 1 14 F. Supp. 2d 1281, 1299-1300 (M.D. Fla. 2000). The Defendant
changed its strategy at trial and chose not to call any witnesses to authenticate its own employment

records. Therefore, extrinsic circumstances rendered McNulty’s testimony unnecessary, but the

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taxation of McNulty’s witness fee and travel costs are still proper under section three of the statute.

Zunde, 2000 U.S. Dist. LEXIS 14754 at * 15. Thus, the Court respectfully recommends that the

 

Plaintiffs Motion be granted except for the Motion for the costs incurred in copying Valerio’s
condensed deposition transcript

Pursuant to 28 U.S.C. § 1920 a bill of costs was filed by the Plaintiffs as an attachment to
each Plaintiff’s Motion for fees and costs.

Accordingly, it is now

RECOMMENDED:

(l) The Plaintiffs Gerardo Gonzalez-Jimenez, Alej andro Juan-Oerez, Refael Juan-Perez and
Gilberto Moreno-Mendo’s Motion for Attorney’s Fees and Costs Under 28 U.S.C. § 1920 (Doc. #
116) be GRANTED.

(a) lt is respectfully recommended that the Defendant pay $4,038.80 in fees of the court

reporter for all or any part of the transcripts necessarily obtained for use in the case.

(b) It is respectfully recommended that the Defendant pay $1,036.00 in costs for

compensation of interpreters services.

(c) lt is respectfully recommended that the Clerk be directed to enter judgement against

Sorrells Brothers Packing Inc. for a total award in fees and costs of §5, 074.80.

(2) The Plaintiffs Ruben GomeZ-Ortiz and Juan Antonio-Maldando’s Motion for an Award
of Costs Under 28 U.S.C. § 1920 (Doc. # 1 19) should be GRANTED in part and DENIED in part.
Therefore, it is respectfully recommended that the Plaintiff s Motion for copying costs for a
condensed of copy of Eulalio Valerio’s deposition should be DENIED. Otherwise it is respectfully

recommended that the Plaintift’s Motion for costs under 28 U.S.C. § 1920 be GRANTED.

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(a) lt is respectfully recommended that the Defendant pay $383.00 in fees of the court
reporter for the deposition transcript of Walter Kates.

(b) lt is respectfully recommended that the Defendant pay $236.50 in fees for the condensed
transcript of Ruben Gomez-Ortiz.

(c) lt is respectfully recommended that the Defendant pay $60.00 in fees for the condensed
copy of the transcript of Judy Strickland.

(d) lt is respectfully recommended that the Defendant pay 840.00 in witness fees 531.62 in
travel expenses (total 571.62) for the appearance of 'l`eresa McNulty.

(e) lt is respectfully recommended that the Clerk be directed to enter judgement against

Sorrells Brothers Packing Inc. for a total award in fees and costs of §751.12.

 

DONE AND ORDERED at Fort Myers, Florida, this w ay of April, 2004.

§HERI POLSTER CHAPPEiZ §

UNITED STATES MAGISTRATE JUDGE

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Presiding District Judge

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Date Printed: 04/23/2004

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